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                            UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA
                                                                                Case No. 23-31873
 In re:                                                                                  Chapter 11
 Jacon, LLC
                  Debtor.


                    PLAN OF REORGANIZATION DATED APRIL 15, 2024

          The above Debtor, Jacon, LLC (hereinafter “Jacon”) proposes the following Plan of

Reorganization (the “Plan”) for approval by the creditors and other interested parties. Creditors

and other parties in interest should refer to the related Disclosure Statement for the Chapter 11

Plan of Reorganization for (i) a discussion of the Debtor’s history and business operations; (ii) a

summary and analysis of this Plan; (iii) a summary of potential risk factors relating to this Plan;

and (iv) a discussion of other matters relevant to the Debtor’s reorganization in general and this

Plan in particular. Subject only to the restrictions and requirements set forth in relevant provisions

of the Bankruptcy Code and the Federal Rules of Bankruptcy Procedure (including 11 U.S.C. §

1127 and Fed. R. Bankr. P. 3019), the Debtor reserves all available rights to amend, alter, revise,

modify, revoke, or withdraw this Plan prior to its substantial consummation.

                                              Article I
                                             Summary

          This Plan under chapter 11 of the Bankruptcy Code (the “Code”) proposes to pay creditors

of the Debtor from cash flow from operations and future income. This Plan provides for a total of

eleven (11) classes, seven (7) secured classes, two (2) priority classes, one (1) allowed general

unsecured class, and one (1) class of equity security holders. Unsecured creditors holding allowed

claims will receive distributions. This Plan also provides for the payment of administrative and
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priority claims to the extent permitted by the Code or the claimant’s agreement.

       All creditors and equity security holders should refer to thoroughly read and review this

Plan for information regarding the precise treatment of their claims. A disclosure that provides

more detailed information regarding this Plan and the rights of creditors and equity security holders

has been circulated with this Plan. Your rights may be affected. You should read these papers

carefully and discuss them with your attorney if you have one. If you do not have an attorney, you

may wish to consult one.

                                             Article II
                              Classification of Claims and Interests

       2.01    Class 1. The lien claim of Platinum Bank (hereinafter “Platinum”).

       2.02    Class 2. The lien claims of the U.S. Small Business Administration (hereinafter

“SBA”).

       2.03    Class 3. The lien claims of the Ramsey County Tax Services (“Ramsey County”).

       2.04    Class 4. The lien claims of John Deere Construction & Forestry Company (“John

Deere”).

       2.05    Class 5. The lien claims of the Ally Bank.

       2.06    Class 6. The lien claims of the AmeriCredit Financial Services, Inc. dba GM

Financial (“GM Financial”).

       2.07    Class 7. The lien claims of the U.S. Bank, N.A. dba U.S. Bank Equipment

Finance (“U.S. Bank”), to the extent allowed as a secured claim under 506 of the Code.

       2.08    Class 8. The lien claims of the Minnesota Laborers Fringe Benefit Funds (“MN

Laborers”)

       2.09    Class 9. The lien claims of the Operating Engineers Local #49 Fringe Benefit

Funds (“Local #49”).



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        2.10   Class 10. All general unsecured Claims allowed under § 502 of the Code.

        2.11   Class 11. Equity interests (membership units) of the Debtor.

                                     Article III
Treatment of Administrative Expense Claims, U.S. Trustees Fees, and Priority Tax Claims

        3.01   Unclassified Claims. Under § 1123(a)(1), administrative expense claims are not

in a class.

        3.02   Administrative Expense Claims. Each holder of an administrative expense claim

allowed under § 503 of the Code will be paid in full on the effective date of this Plan (as defined

in Article VII), in cash, or upon such other terms as may be agreed upon by the holder of the claim

and the Debtor.

        3.03   Priority Tax Claims.       IRS Priority Claim (see Claim No. 12 (amended)):

$51,200.58, will be paid in full, at eight percent (8.0%) interest, in thirty-six (36) installments of

$1,604.44 per month with the first payment due on the Effective Date, and future payments due

on the 1st business day of each month hereafter. The IRS may apply such payment in accordance

with its own customary practice.

        If the Debtor defaults on any payment due to the IRS and such default continues for 45

days or more, the outstanding amount due to the IRS shall become due and payable immediately,

and the same may be collected through the administrative collection provisions of the Internal

Revenue Code, as applicable.

        3.04   United States Trustee Fees. All fees required to be paid by 28 U.S.C. section

1930(a)(6) (U.S. Trustee Fees) will accrue and be timely paid until the case is closed, dismissed,

or converted to another chapter of the Code. Any U.S. Trustee Fees owed on or before the effective

date of this Plan will be paid on the Effective Date. All U.S. Trustee Reports will be prepared and



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filed by the Debtor while the case is pending in the Bankruptcy Court.

         3.05   Real Estate Tax Claims. The real estate taxes for 2023 due and owing on the

Property will be paid per the terms in Article IV below.

                                Article IV
            TREATMENT OF CLAIMS AND INTERESTS UNDER THE PLAN

         4.01   Claims and interests shall be treated as follows under this Plan:

 Class                    Impairment        Treatment

 Class 1—Secured          Impaired          The Class 1 Claim will be paid in full, in cash,
 Claims of Platinum                         starting on the Effective Date and continuing
 Bank                                       thereafter on a monthly basis, on the first business
                                            day of each calendar month, until said Class 1 Claim
                                            is paid in full, as follows: (a) for a period of one
                                            hundred eighty (180) months from the Effective
                                            Date at the annual interest rate of 6.0%, with a
                                            principal and interest payment of $29,534.99 per
                                            month, on an “amortizing” basis of principal and
                                            interest, on a fifteen year amortization schedule.
                                            Except as modified by this Plan all other terms and
                                            conditions of the documents evidencing the loan
                                            made by the Bank to Debtor shall remain in full
                                            force and effect. The Debtor and Platinum will work
                                            together to determine the balance owing after the
                                            application of the asset sale proceeds, and make any
                                            necessary adjustments to the monthly payment. The
                                            holder of the Class 1 Claim shall retain its lien
                                            secured by the assets of the Debtor.

 Class 2 —Secured         Impaired.         The Class 2 Claim will be paid in full, in cash,
 Claims – U.S. Small                        starting on the Effective Date and continuing
 Business                                   thereafter on a monthly basis, on the first business
 Administration                             day of each calendar month, until said Class 2 Claim
                                            is paid in full, as follows: (a) for a period of one
                                            hundred eighty (180) months from the Effective
                                            Date at the annual interest rate of 3.75%, with a
                                            principal and interest payment of $2,204.42 per
                                            month, on an “amortizing” basis of principal and



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                                        interest, on a fifteen year amortization schedule.
                                        Except as modified by this Plan all other terms and
                                        conditions of the documents evidencing the loan
                                        made by the SBA to Debtor shall remain in full force
                                        and effect. The holder of the Class 2 Claim shall
                                        retain its lien secured by the assets of the Debtor.

Class 3 – Secured       Not Impaired.   Class 3 will be paid in full, with interest, once the
Claim of Ramsey                         pending motion to sell the Debtor’s real estate is
County Tax Services                     approved by the court, and the closing of the
                                        transaction occurs.

Class 4 – Secured       Impaired        The Class 4 Claim will be paid in full, in cash,
Claim John Deere                        starting on the Effective Date and continuing
Construction &                          thereafter on a monthly basis, on the first business
Forestry Company                        day of each calendar month, until said Class 4 Claim
                                        is paid in full, as follows: (a) for a period of sixty
                                        (60) months from the Effective Date at the annual
                                        interest rate of 4.95%, with a principal and interest
                                        payment of $1,771.17 per month, on an “amortizing”
                                        basis of principal and interest, on a five year
                                        amortization schedule. Except as modified by this
                                        Plan all other terms and conditions of the documents
                                        evidencing the loan made by John Deere to Debtor
                                        shall remain in full force and effect. The holder of
                                        the Class 4 Claim shall retain its lien against the
                                        Compactor.

Class 5 – Secured       Impaired        The Class 5 Claim will be paid in full, in cash,
Claim of Ally Bank                      starting on the Effective Date and continuing
                                        thereafter on a monthly basis, on the first business
                                        day of each calendar month, until said Class 5 Claim
                                        is paid in full, as follows: (a) for a period of sixty
                                        (60) months from the Effective Date at the annual
                                        interest rate of 8.99%, with a principal and interest
                                        payment of $1,257.17 per month, on an “amortizing”
                                        basis of principal and interest, on a five year
                                        amortization schedule. Except as modified by this
                                        Plan all other terms and conditions of the documents
                                        evidencing the loan made by Ally Bank to Debtor
                                        shall remain in full force and effect. The holder of



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                                      the Class 5 Claim shall retain its lien against the
                                      Silverado 2500.

Class 6 – Secured    Impaired         The Class 6 Claim will be paid in full, in cash,
Claim of AmeriCredit                  starting on the Effective Date and continuing
Financial Services,                   thereafter on a monthly basis, on the first business
Inc., dba GM                          day of each calendar month, until said Class 6 Claim
Financial                             is paid in full, as follows: (a) for a period of sixty
                                      (60) months from the Effective Date at the annual
                                      interest rate of 6.99%, with a principal and interest
                                      payment of $1,089.17 per month, on an “amortizing”
                                      basis of principal and interest, on a five year
                                      amortization schedule. Except as modified by this
                                      Plan all other terms and conditions of the documents
                                      evidencing the loan made by GM Financial to
                                      Debtor shall remain in full force and effect. The
                                      holder of the Class 6 Claim shall retain its lien
                                      against the Silverado 3500.

Class 7 – Partially   Impaired.       The Class 7 Claim will be paid $200,000.00 in cash,
Secured Claim of                      starting on the Effective Date and continuing
U.S. Bank, N.A. d/b/a                 thereafter on a monthly basis, on the first business
U.S. Bank Equipment                   day of each calendar month, until said Class 7 Claim
Finance                               is paid in full, as follows: (a) for a period of sixty
                                      (60) months from the Effective Date at the annual
                                      interest rate of 5.00%, with a principal and interest
                                      payment of $3,774.25 per month, on an “amortizing”
                                      basis of principal and interest, on a five year
                                      amortization schedule. Except as modified by this
                                      Plan all other terms and conditions of the documents
                                      evidencing the loan made by U.S. Bank to Debtor
                                      shall remain in full force and effect. The holder of
                                      the Class 7 Claim shall retain its lien against the
                                      Peterbilt 567.

Class 8 – Priority      Impaired.     The Debtor owed to MN Laborers as of the Petition
Claim – Minnesota                     Date a priority claim in the amount of $98,176.98,
Laborers Fringe                       and an unsecured claim of $16,755.17 (see Proof of
Benefit Funds                         Claim No. 34). MN Laborers’ priority claim will be
                                      paid in cash, starting on the Effective Date and
                                      continuing thereafter on a monthly basis, on the first



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                                     business day of each calendar month, until said Class
                                     8 Claim is paid in full, as follows: thirty-six (36)
                                     monthly payments in the amount of $2,727.14. MN
                                     Laborers’ unsecured claim will be treated in Class 10
                                     below. Except as modified by this Plan all other
                                     terms and conditions under the contract between the
                                     Debtor and MN Laborers shall remain in full force
                                     and effect.

Class 9 – Priority     Impaired.     The Debtor owed to Local #49 as of the Petition
Claims – Operating                   Date a priority claim in the amount of $90,125.97,
Engineers Local #49                  and an unsecured claim of $200,823.62 (see Proof of
Fringe Benefit Funds                 Claim No. 37). Local #49’s priority claim will be
                                     paid in cash, starting on the Effective Date and
                                     continuing thereafter on a monthly basis, on the first
                                     business day of each calendar month, until said Class
                                     9 Claim is paid in full, as follows: thirty-six (36)
                                     monthly payments in the amount of $2,503.50.
                                     Local #49’s unsecured claim will be treated in Class
                                     10 below. Except as modified by this Plan all other
                                     terms and conditions under the contract between the
                                     Debtor and Local #49 shall remain in full force and
                                     effect.

Class 10 – Allowed     Impaired.     In full satisfaction of the allowed general unsecured
General Unsecured                    claims, each Holder of a Class 10 claim shall receive
Creditors                            its pro rata share of $60,000.00 per year, with the
                                     first payment being on the one year anniversary of
                                     the Effective Date, and two (2) more payments on
                                     the second and third year anniversaries of the
                                     Effective Date, for a total of three payments equaling
                                     $180,000.00. The percentage payment to each Class
                                     10 creditor is approximately 5.0%.

Class —Equity          Unimpaired.   Upon a capital contribution to the Estate in the
Security Holders                     amount of $5,000.00, the Equity Security Holders
                                     will retain their membership interests in the Debtor
                                     subsequent to confirmation of the Plan.




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Classes 1, 2, 4, 5, 6, 7, 8, 9 and 10 are Impaired under this Plan and are entitled to vote for or

reject the Plan. Classes 3 and 11 are not impaired under this Plan.

                                            Article V
                               Allowance And Disallowance Of Claims

          5.01   Disputed Claim. A disputed claim is a claim that has not been allowed or

disallowed [by a final non-appealable order], and as to which either: (i) a proof of claim has been

filed or deemed filed, and the Debtor or another party in interest has filed an objection; or (ii) no

proof of claim has been filed, and the Debtor has scheduled such claim as disputed, contingent, or

unliquidated.

          5.02   Delay of Distribution on a Disputed Claim. No distribution will be made on

account of a disputed claim unless such claim is allowed by a final non-appealable order.

                                              Article VI
                       Provisions for Executory Contracts and Unexpired Leases

          6.01   Assumed Executory Contracts and Unexpired Leases.

                 (a)       The Debtor assumes the following executor contracts and/or unexpired

leases:

                 CapFirst Equipment Finance (no claim filed);

                 Caterpillar Financial (see Claim No. 33); and

                 Komatsu Financial (see Claim No. 31).

                 (b)       The Debtor will be conclusively deemed to have rejected all executor

contracts and/or unexpired leases not expressly assumed under section 6.01(a) above, or before the

date of the order confirming this Plan, upon the “Effective Date of this Plan.”




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                                         Article VII
                             Means for Implementation of the Plan

       The Debtor intends to make payments to the creditors from continued business operations

through cash flow and future income. The Debtor will continue to be managed and operated by

Jason Jacobsen. Inquiries regarding payments due under the Plan can be directed to Jason

Jacobsen at the telephone number 651-426-8561.

                                          Article VIII
                                     Supervision of the Plan

       8.01. Jurisdiction. Until the Chapter 11 Cases is closed, the Court shall retain the fullest

and most extensive jurisdiction that is permissible, including that necessary to ensure that the

purposes and intent of this Plan are carried out and to hear and determine all claims that could have

been brought before the entry of the Confirmation Order. Except as otherwise provided for in this

Plan, the Court shall retain jurisdiction to hear and determine all claims against the Debtor and to

adjudicate and enforce all causes of action that may exist on behalf of the Debtor. Nothing

contained herein shall prevent the Debtor from taking such action as may be necessary to enforce

or prosecute any cause of action that the Debtor have or may have and that may not have been

enforced or prosecuted by the Debtor, which cause of action shall survive confirmation of this Plan

and shall not be affected thereby except as specifically provided herein.

       8.02. General Retention. Following confirmation of this Plan, the Court shall also retain

jurisdiction for the purposes of classifying any claim, re-examining claims that have been allowed

for purposes of voting and determining such objections as may be filed with the court with respect

to any claim. The failure by the Debtor to object to or examine any claim for the purposes of voting

shall not be deemed a waiver of the right of the Debtor to object to or reexamine such claim, in

whole or in part.




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       8.03. Specific Purposes. In addition to the foregoing, after confirmation of the Plan the

court shall retain jurisdiction to the maximum extent legally permissible, including for the

following specific purposes:

       (a) to modify this Plan after confirmation, pursuant to the Code;
       (b) to correct any defect, cure any omission or reconcile any inconsistency in this Plan or
       the Confirmation Order as may be necessary to carry out the purposes and intent of this
       Plan, including the adjustment of the date(s) of performance under this Plan and any
       documents related thereto so that the intended effect of this Plan and such other
       documents may be substantially realized thereby;
       (c) to enforce and interpret the terms and conditions of this Plan;
       (d) to enter such orders including, but not limited to, injunctions as are necessary
       to enforce the title, rights and powers of the Debtor;
       (e) to hear and determine any motions or contested matters involving taxes, tax refunds,
       tax attributes, tax benefits and similar or related matters with respect to the Debtor, or its
       estate arising prior to the Effective Date or relating to the period of administration of the
       Chapter 11 Cases;
       (f) to hear and determine all applications for compensation of professionals and
       reimbursement of expenses under Sections 330, 331 or 503(b) of the Code;
       (g) to hear and determine any causes of action arising during the period from the date a
       petition is filed through the Effective Date, or in any way related to this Plan or the
       transactions contemplated hereby, against the Debtor, the Creditors Committee or their
       respective officers, directors, stockholders, members, attorneys, financial advisors,
       representatives and agents;
       (h) to determine any and all motions pending on confirmation for the rejection,
       assumption or assignment of executory contracts or unexpired leases and the allowance
       of any claim resulting therefrom;
       (i) to determine such other matters and for such other purposes as may be provided in the
       Confirmation Order;
       (j) to consider and act on the compromise and settlement of any claim against the interest
       in the Debtor or its estate;
       (k) to determine all questions and disputes regarding title to the assets of the Debtor or its
       estate;
       (l) to enter such orders as are necessary to implement and enforce any other orders
       entered in the Chapter 11 Cases; and
       (m) to hear and determine any other matters related hereto and not inconsistent with the
       Code.




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                                           Article IX
                                        General Provisions

          9.01   Definitions and Rules of Construction. The definitions and rules of construction

set for in 101 and 102 of the Code shall apply when terms defined or construed in the Code are

used in this Plan. Additionally, any defined terms used in the Disclosure Statement have the

same meaning if used in this Plan.

          9.02   “Effective Date” of Plan. “Effective Date” means the twentieth (20th) calendar

day after the Confirmation Date; or, an earlier date declared by the Debtor in its sole discretion.

If a stay of the confirmation order is in effect on the Effective Date, the Effective Date will be

the first business day after that date on which no stay of the confirmation order is in effect,

provided that the confirmation order has not been vacated.

          9.03   Binding Effect. The rights and obligations of any entity named or referred to in

this Plan will be binding upon and will inure to the benefit of the successors or assigns of such

entity.

          9.04   Captions. The headings contained in this Plan are for convenience of reference

only and do not affect the meaning or interpretation of this Plan.

          9.05   Controlling Effect. Unless a rule of law or procedure is supplied by federal law

(including the Code or the Federal Rules of Bankruptcy Procedure), or the laws of the State of

Minnesota govern this Plan and any agreements, documents and instruments executed in

connection with this Plan, except as otherwise provided in this Plan.

                                            Article X
                                        Plan Confirmation

          10.01. Conditions Precedent to Confirmation. The following are conditions to the entry of

the Confirmation Order unless such conditions, or any one of them, have been satisfied or duly




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waived pursuant to Section 9.02 of this Plan: (i) the Confirmation Order is the standard

confirmation order used in this district; and (ii) this Plan shall not have been materially amended,

altered or modified from the most recent version filed by the Debtor, unless such material

amendment, alteration or modification has been made in accordance with Section 10.02 of this

Plan.

        10.02. Waiver of Conditions to Confirmation. The conditions to Confirmation may be

waived in whole or in part at any time by the Debtor without an order of the Court.

        10.03. Cramdown. The Debtor requests confirmation under Section 1129(b) of the

Bankruptcy Code with respect to any impaired class that has not accepted or is deemed not to have

accepted this Plan.

        10.04. Effect of Confirmation.

        10.04.01. Title and Vesting of Assets. Platinum Bank and the Small Business
        Administration shall retain its prepetition real estate liens on all of its collateral and such
        lien shall not be affected by the Plan. All property of the Debtor and its estate is dealt with
        by this Plan; therefore, on the Effective Date, to the full extent allowed by section 1141(b)
        of the Bankruptcy Code, all property of the Debtor and its respective estates shall vest in
        the reorganized Debtor and such property shall be free and clear of all liens, encumbrances,
        claims, and interests of creditors and equity security holders, except to the extent the Plan
        explicitly provides that such liens, encumbrances, claims, or interests are retained. From
        and after the Effective Date, the Debtor may operate, use, acquire, and dispose of property
        in accordance with the Plan, free and clear of any restrictions of the Bankruptcy Code and
        the Federal Rules of Bankruptcy Procedure and in all respects as if there were no pending
        case under any chapter or provision of the Bankruptcy Code, except as provided in this
        Plan.

        10.04.02. Discharge. Except as otherwise provided in this Plan, confirmation of this Plan
        discharges, waives, and releases the Debtor from any debt that arose before the
        Confirmation Date and any debt of a kind specified in Sections 502(g), 502(h), or 502(i)
        of the Bankruptcy Code, regardless of whether or not proof of the claim based on such debt
        was filed or deemed filed under Section 501 of the Bankruptcy Code, such Claim is allowed
        under Section 502 of the Bankruptcy Code, or the holder of such claim has accepted the
        Plan. The payments of, distributions on account of, or treatments of claims in this Plan are
        deemed to satisfy in full all claims.




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